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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

DONNA CURLING, et al.

       Plaintiffs,
                                              CIVIL ACTION
       v.
                                              FILE NO. 1:17-cv-2989-AT
BRAD RAFFENSPERGER, et al.,

       Defendants.


 STATE DEFENDANTS’ RESPONSE TO COALITION PLAINTIFFS’
 NOTICE OF FILING EVIDENCE RELATING TO PAPER POLLPAD
                     BACKUP RELIEF

      Defendants Secretary of State Brad Raffensperger, the State Election

Board, and the State Election Board Members (collectively, “State

Defendants”) briefly respond in opposition to Coalition Plaintiffs’ Notice of

Filing Evidence Relating to Paper Pollpad Backup Relief [Doc. 755].

      Coalition Plaintiffs’ latest batch of declarations illustrates exactly why

this case should proceed on a normal discovery track instead of on an

emergency basis. Looking just at the first declaration filed, Coalition

Plaintiffs have included hearsay about how counties in North Carolina utilize

a check-in process that differs from Georgia’s, [Doc. 755, p. 18]; descriptions

of Ms. Marks’ and the Coalition’s policy advocacy to the State Election Board,
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id. at ¶¶ 6-13; and Ms. Marks’ personal opinions about how her preferred

policy option would have improved an election held during a pandemic,1 id. at

¶ 29. Coalition Plaintiffs also offer ideas about poll worker training, id. at pp.

76-78; ballot secrecy on BMDs, id. at pp. 80-81, 97-98, 126; whether voters

review ballots, id. at p. 139-140; the proper positioning of PollPads to avoid

glare on voter’s driver’s licenses during check-in, id. at p. 102; commentary on

whether green dots assist poll officials with setting up encoders, id. at p. 105;

and their frustrations that policymakers do not believe them, id. at 121-122.

      State Defendants have not yet been able to test any of these

declarations through depositions or other discovery. This Court already noted

that it only has “preliminary evidence” before it regarding Coalition

Plaintiffs’ claims and Coalition Plaintiffs have simply provided more untested

declarations. [Doc. 751, p. 23]. Coalition Plaintiffs take the position that their

requested relief is already “required by SEB regulations,”2 [Doc. 755, p. 169],

[Doc. 756, p. 23], but seek significant changes to Georgia election processes


1At least one declaration filed by Coalition Plaintiffs indicates that
pollworkers utilized paper lists, even though the declarant was not sure how
they were utilized. Id. at p. 102.

2If Coalition Plaintiffs believe that an SEB Rule is being violated, they have
the option of seeking mandamus in a Georgia superior court, as they have
done in other situations. Coalition for Good Governance v. Gaston, Case No.
20CV000077(S) (Sumter County Superior Court).

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and poll worker training3 for the August 11 election (eight days from today)

and the November 3 election (92 days from today). [Doc. 756, p. 7]. Even

without the significant Eleventh-Amendment and “follow the law” injunction

issues raised by Coalition Plaintiffs’ proposed relief, it is too late to make

these changes and this Court should allow the case to proceed on a normal

discovery track so it can review evidence that is tested by the adversarial

process as it weighs Plaintiffs’ claims.

      Last Thursday, the U.S. Supreme Court again stayed a district-court

order that made significant changes to election processes for November

related to ballot initiatives, with the Chief Justice noting the need for “clear

and administrable guidelines from the courts.” Little v. Reclaim Idaho, No.

20A18, 2020 U.S. LEXIS 3585, at *2 (U.S. July 30, 2020). Accord Republican

Nat’l Comm. v. Democratic Nat’l Comm., 140 S. Ct. 1205, 1207, 206 L. Ed. 2d

452 (2020); Purcell v. Gonzalez, 549 U. S. 1, 127 S. Ct. 5 (2006) (per curiam);

Frank v. Walker, 574 U. S. 929, 135 S. Ct. 7 (2014); Veasey v. Perry, 574 U.S.

951, 135 S. Ct. 9 (2014); Tex. Democratic Party v. Abbott, 140 S. Ct. 2015,

2015 (2020); Thompson v. DeWine, No. 19A1054, 2020 U.S. LEXIS 3376, at *1


3Coalition Plaintiffs also apparently presume that State Defendants are
responsible for training poll workers—which they are not. O.C.G.A. § 21-2-
50(a)(11) (Secretary responsible for training superintendents and registrars,
not poll officials).

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(U.S. June 25, 2020). It is time for this case to continue through the regular

adversarial process and allow this Court the ability to weigh admissible

evidence regarding Plaintiffs’ claims.

      Respectfully submitted this 3rd day of August, 2020.

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                    CERTIFICATE OF COMPLIANCE

      Pursuant to L.R. 7.1(D), the undersigned hereby certifies that the

foregoing STATE DEFENDANTS’ RESPONSE TO COALITION

PLAINTIFFS’ NOTICE OF FILING EVIDENCE RELATING TO

PAPER POLLPAD BACKUP RELIEF has been prepared in Century

Schoolbook 13, a font and type selection approved by the Court in L.R. 5.1(B).

                              /s/ Bryan P. Tyson
                              Bryan P. Tyson
